Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 1 of 12            FILED
                                                                 2017 Aug-14 PM 01:43
                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 2 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 3 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 4 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 5 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 6 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 7 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 8 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 9 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 10 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 11 of 12
Case 5:17-cv-01216-CLS Document 11 Filed 08/14/17 Page 12 of 12
